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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

 Autoscribe Corporation                      §
                                             §
           Plaintiff,                        §      Civil Action No. 3:24-cv-00076
                                             §
 v.                                          §       JURY TRIAL DEMANDED
                                             §
 Tsevo, LLC and                              §
 GambleID, LLC                               §
                                             §
           Defendants.                       §


           ORDER GRANTING UNOPPOSED MOTION TO TRANSFER VENUE
               TO THE HOUSTON DIVISION OF THE UNITED STATES
                DISTRICT COURT FOR THE SOUTHERN DIVISION

        Having considered Defendants Tsevo, LLC and GambleID, LLC’s Unopposed Motion to

Transfer Venue to the Houston Division of the United States District Court for the Southern

District of Texas, the Court finds that the Motion should be and hereby is GRANTED.

        It is therefore, ORDERED that the claims asserted against Defendants Tsevo, LLC and

GambleID, LLC by Plaintiff Autoscribe Corporation in the above-styled action are hereby

TRANSFERRED to the Houston Division of the United States District Court for the Southern

District of Texas.

        SIGNED in Galveston this ____ day of ___________, 20_____.



                                              __________________________________
                                                 HON. JEFFREY VINCENT BROWN
                                                UNITED STATES DISTRICT JUDGE




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